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WE CAMP

November 9, 2020

Dear Mr. William Boddie:

I’m pleased to include you in Writers Boot Camp’s long-standing tradition of granting support to writers in
marginalized communities interested in telling lesser known stories. You’ve been awarded a full scholarship
for our Basic Training session worth $2500.

This three-month intensive process is available to you anytime upon your release. Having been made aware of
your story, we very much look forward to the end of your incarceration.

The requirement for participation is a willingness to commit 10 hours/week to your project. In preparation,
you need only pick which story you’d like to tell and put it in a single sentence for review upon your start. If
you are unsure whether your idea should be a film or television script or novel, we'll give you the tools to
make that decision once you begin.

Writers Boot Camp has a 30-year history of mentoring over 10,000 writers, many of whom work at the highest
levels of the entertainment industry, garnering Oscars, Emmy’s and Tony awards. Welcome to our community!

Please contact my office when you are available to begin. We look forward to supporting your creative and
professional goals.

Respectfully,
Sara Poindexter

Sarah Poindexter
Director of Creative Services

2525 Michigan Ave, Bldg. i Santa Monica, CA 90404 Ph: 800 800 1733 www.writersbootcamp.com
